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               Sheet 1


                                             United States District Court
                                                          EASTERN DISTRICT OF TEXAS
                                                                   Texarkana
          UNITED STATES OF AMERICA                                         JUDGMENT IN A CRIMINAL CASE
                               V.
                      JUANA BANDA
                                                                           Case Number:           5:08CR00034-004
                  AKA MARIA AGUIRRE                                        USM Number: 15465-078
                                                                            James Trujillo
                                                                           Defendant’s Attorney
THE DEFENDANT:
✔pleaded guilty to count(s) 1 of the information
G
G pleaded nolo contendere to count(s)
   which was accepted by the court.
G was found guilty on count(s)
   after a plea of not guilty.

The defendant is adjudicated guilty of these offenses:

Title & Section                     Nature of Offense                                                       Offense Ended                Count
 42 USC § 408 (a)(7)(B)              False Use of a Social Security Account Number                            04/01/2008                  1




       The defendant is sentenced as provided in pages 2 through               4         of this judgment. The sentence is imposed pursuant to
the Sentencing Reform Act of 1984.
G The defendant has been found not guilty on count(s)
✔Count(s) original indictment
G                                                               ✔
                                                                G is       G are dismissed on the motion of the United States.
         It is ordered that the defendant must notify the United States attorney for this district within 30 days of any change of name, residence,
or mailing address until all fines, restitution, costs, and special assessments imposed by this judgment are fully paid. If ordered to pay restitution,
the defendant must notify the court and United States attorney of material changes in economic circumstances.


                                                                           7/10/2008
                                                                          Date of Imposition of Judgment




                                                                          Signature of Judge

                                                                           David Folsom
                                                                            United States District Judge
                                                                          Name and Title of Judge

                      Hello This is a Test                                  7/18/08
                                                                          2/15/05
                                                                          Date
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              Sheet 2 — Imprisonment

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                                                                IMPRISONMENT

        The defendant is hereby committed to the custody of the United States Bureau of Prisons to be imprisoned for a
total term of: time served

 The defendant is sentenced to time served, which the Court determined is 1 day.




     G The court makes the following recommendations to the Bureau of Prisons:




     ✔ The defendant is remanded to the custody of the United States Marshal.
     G

     G The defendant shall surrender to the United States Marshal for this district:
          G     at                                     G a.m.     G p.m.        on                                              .

          G     as notified by the United States Marshal.

     G The defendant shall surrender for service of sentence at the institution designated by the Bureau of Prisons:
          G     before 2 p.m. on                                            .

          G     as notified by the United States Marshal.

          G     as notified by the Probation or Pretrial Services Office.


                                                                     RETURN
I have executed this judgment as follows:




          Defendant delivered on                                                            to

at                                                      , with a certified copy of this judgment.



                                                                                                       UNITED STATES MARSHAL


                                                                             By
                                                                                                    DEPUTY UNITED STATES MARSHAL
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                                                        SUPERVISED RELEASE
Upon release from imprisonment, the defendant shall be on supervised release for a term of : 2 years




     The defendant must report to the probation office in the district to which the defendant is released within 72 hours of release from the
custody of the Bureau of Prisons.
The defendant shall not commit another federal, state or local crime.
The defendant shall not unlawfully possess a controlled substance. The defendant shall refrain from any unlawful use of a controlled
substance. The defendant shall submit to one drug test within 15 days of release from imprisonment and at least two periodic drug tests
thereafter, as determined by the court.
✔ The above drug testing condition is suspended, based on the court’s determination that the defendant poses a low risk of
G
       future substance abuse. (Check, if applicable.)
✔ The defendant shall not possess a firearm, ammunition, destructive device, or any other dangerous weapon. (Check, if applicable.)
G
✔ The defendant shall cooperate in the collection of DNA as directed by the probation officer. (Check, if applicable.)
G
G The defendant shall register with the state sex offender registration agency in the state where the defendant resides, works, or is a
       student, as directed by the probation officer. (Check, if applicable.)
G      The defendant shall participate in an approved program for domestic violence. (Check, if applicable.)
    If this judgment imposes a fine or restitution, it is a condition of supervised release that the defendant pay in accordance with the
Schedule of Payments sheet of this judgment.
     The defendant must comply with the standard conditions that have been adopted by this court as well as with any additional conditions
on the attached page.

                                          STANDARD CONDITIONS OF SUPERVISION
  1)      the defendant shall not leave the judicial district without the permission of the court or probation officer;
  2)      the defendant shall report to the probation officer and shall submit a truthful and complete written report within the first five days of
          each month;
  3)      the defendant shall answer truthfully all inquiries by the probation officer and follow the instructions of the probation officer;
  4)      the defendant shall support his or her dependents and meet other family responsibilities;
  5)      the defendant shall work regularly at a lawful occupation, unless excused by the probation officer for schooling, training, or other
          acceptable reasons;
  6)      the defendant shall notify the probation officer at least ten days prior to any change in residence or employment;
  7)      the defendant shall refrain from excessive use of alcohol and shall not purchase, possess, use, distribute, or administer any
          controlled substance or any paraphernalia related to any controlled substances, except as prescribed by a physician;
  8)      the defendant shall not frequent places where controlled substances are illegally sold, used, distributed, or administered;
  9)      the defendant shall not associate with any persons engaged in criminal activity and shall not associate with any person convicted of a
          felony, unless granted permission to do so by the probation officer;
 10)      the defendant shall permit a probation officer to visit him or her at any time at home or elsewhere and shall permit confiscation of any
          contraband observed in plain view of the probation officer;
 11)      the defendant shall notify the probation officer within seventy-two hours of being arrested or questioned by a law enforcement officer;
 12)      the defendant shall not enter into any agreement to act as an informer or a special agent of a law enforcement agency without the
          permission of the court; and
 13)      as directed by the probation officer, the defendant shall notify third parties of risks that may be occasioned by the defendant’s criminal
          record or personal history or characteristics and shall permit the probation officer to make such notifications and to confirm the
          defendant’s compliance with such notification requirement.
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                                     ADDITIONAL SUPERVISED RELEASE TERMS
 1. The defendant shall provide the probation officer with access to any requested financial information for the purpose of
 monitoring his ability to obtain and maintain lawful employment.

 2. As a condition of supervised release, immediately upon release from confinement, the defendant shall be surrendered
 to a duly authorized immigration official for deportation proceedings in accordance with the established procedures
 provided by the Immigration and Nationality Act, 8 U.S.C. 1101, et seq. If ordered deported the defendant shall remain
 outside of the United States. In the event the defendant is not deported, or for any reason re-enters the country after
 having been deported, the defendant shall comply with all conditions of supervised release, to include reporting to the
 nearest U.S. Probation Office within 72 hours of their release by immigration officials or re-entry into the country.
